        Case 4:13-cv-01626 Document 1 Filed on 06/03/13 in TXSD Page 1 of 8



                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE SOUTHERN DISTRICT OF TEXAS
                                 HOUSTON DIVISION

VANESSA EVANS-RHODES                            §
                                                §
     Plaintiff,                                 §           C.A. NO. ________________
                                                §
v.                                              §
                                                §           JURY TRIAL DEMANDED
NORTHWEST DIAGNOSTIC CLINIC,                    §
P.A.                                            §
                                                §
     Defendant.                                 §
                                                §
                                                §

______________________________________________________________________________

                     PLAINTIFF’S ORIGINAL COMPLAINT
______________________________________________________________________________

TO THE HONORABLE JUDGE OF SAID COURT:

          COMES NOW PLAINTIFF VANESSA EVANS-RHODES (hereinafter “Rhodes” or

“Plaintiff”) brings this suit against and complains of NORTHWEST DIAGNOSTIC CLINIC,

P.A. hereinafter “Northwest” or “Defendant”), as follows:

                                        A.     PARTIES

1.      Plaintiff Vanessa Evan-Rhodes is an individual, who is a citizen of the State of Texas.

2.      Defendant Northwest Diagnostic Clinic, P.A. is a domestic for-profit corporation that

may be served through its registered agent John Watson at 1140 Cypress Station Drive, Suite

105, Houston, Texas 77090 or wherever he may be found.

                            B.      JURISDICTION AND VENUE

3.      This action arises under the laws of the United States, specifically (1) Title VII of the

Civil Rights Act of 1964 as amended by the Civil Rights Acts of 1991; (2) 42 U.S.C. § 2000e-
       Case 4:13-cv-01626 Document 1 Filed on 06/03/13 in TXSD Page 2 of 8



5(f)(1) and (3); (3) 42 U.S.C.§ 1981. Accordingly, this Court has jurisdiction over the subject

matter of this suit pursuant to 28 U.S.C. § 1331.

                C.     EXHAUSTION OF ADMINISTRATIVE PROCEDURES

4.        Plaintiff timely filed with the Equal Employment Opportunity Commission, hereinafter

“EEOC”, a charge of race and retaliation against Northwest. The EEOC made a Determination

of Retaliation. Plaintiff received a notice of right to sue from the EEOC within ninety (90) days

of filing this complaint.

                                D.     STATEMENT OF FACTS

5.        Plaintiff Vanessa Evan-Rhodes is an African American female who was employed with

Northwest from on or about January 4, 2011 through June 7, 2011. Plaintiff was hired as a

Healthcare Coding Specialist/Auditor.

6.        Plaintiff’s supervisor was the Director of Network Operations, Pam Audish, a Caucasian

female.

7.        On or about June 2, 2011, Plaintiff’s Caucasian co-worker, Sonya Taylor, the Quality

Improvement Specialist, made a racially derogatory comment towards African Americans to

Plaintiff.

8.        Plaintiff was highly offended by the racially derogatory towards African Americans and

immediately complained about Ms. Taylor’s comment to her supervisor, Pam Audish.

9.        Ms. Audish responded to Plaintiff that prior to making such a complaint that Plaintiff

needed to sleep on it, implying that she needed to really think about whether or not she truly

wanted to lodge such a complaint.

10.       In addition to complaining to her supervisor, Ms. Audish, Plaintiff complained to Kim

Taylor, the Human Resource Director, about the discriminatory and racially derogatory comment




                                               -2-
       Case 4:13-cv-01626 Document 1 Filed on 06/03/13 in TXSD Page 3 of 8



that Ms. Taylor.

11.     Immediately, following Plaintiff’s complaints of discrimination to her supervisor and the

Director of Human Resources, Plaintiff became a victim of retaliation.

12.     On June 7, 2013, approximately four days following her complaints of discrimination and

of a racial harassment, Plaintiff was terminated.

13.     Following her termination, Plaintiff filed a Charge of Discrimination/Retaliation with the

EEOC.

14.     Subsequent to the EEOC’s investigation, the EEOC made a Determination of Retaliation

in favor of Plaintiff.

                                  E.      CAUSES OF ACTION

 Count No. 1-Race Discrimination and Retaliation Under Title VII of the Civil Rights Act

15.     Plaintiff repeats and re-alleges paragraphs 1 through 14 with the same force and effect as

though fully set forth herein.

16.     Defendant’s actions demonstrate that they have engaged in racial discrimination and

retaliatory practices with malice or with reckless indifference to Plaintiff‘s protected rights and is

in violation of Title VII of the Civil Rights Act.           Following her complaints of racial

discrimination and harassment, Plaintiff became a victim of retaliation and was ultimately

terminated.

17.     In addition, Plaintiff avers that Defendant’s unlawful race discrimination and retaliatory

actions on account of her reporting and opposing the ongoing discrimination violates the

provisions and is in violation of Title VII justifying an award, inter alia, of compensatory and

punitive damages against Defendant.

18.     Such discrimination and retaliation has caused Plaintiff to suffer damages of severe




                                                 -3-
       Case 4:13-cv-01626 Document 1 Filed on 06/03/13 in TXSD Page 4 of 8



emotional distress, lost wages, including raises, retirement benefits, loss of promotion, and other

benefits associated as Plaintiff has been subjected to adverse employment actions as a result of

the discrimination and retaliation. Such discrimination and retaliation was committed with

malice and reckless indifference to the rights of Plaintiff who endured discrimination, opposed

such, and reported discriminatory behavior and desires to be treated equally pursuant to the

intent of the statute to protect victims from such actions.

19.    Plaintiff has been denied opportunities to which she was entitled and such benefits and

privileges that she would have received if she had not been intentionally discriminated and

retaliated against by Defendant. Plaintiff is now suffering and will continue to suffer past and

future pecuniary losses, emotional and physical pain, suffering, inconvenience, mental anguish,

loss of enjoyment of life, and other non-pecuniary losses. These irreparable injuries and

monetary damages are the result of Defendant’s retaliatory practices and they will continue

unless and until this Court grants relief.

                   Count No. 2-Racial Discrimination and Retaliation Under

                       Reconstruction Civil Rights Acts, 42 U.S.C. § 1981

20.    Plaintiff repeats and re-alleges paragraphs 1 through 19 with the same force and effect as

though fully set forth herein.

21.    Defendant’s intentional racial discrimination against Plaintiff as well as the pattern and

practice of this are in violation of the Reconstruction Civil Rights Acts, 42 U.S.C. § 1981.

Defendant’s retaliation against Plaintiff as well as the pattern and practice of this are in violation

of the Reconstruction Civil Rights Acts, 42 U.S.C. § 1981 as well. Such discrimination and

retaliation has caused Plaintiff to suffer damages of severe emotional distress, lost wages,

including raises, retirement benefits, loss of promotion, and other benefits associated as Plaintiff




                                                 -4-
       Case 4:13-cv-01626 Document 1 Filed on 06/03/13 in TXSD Page 5 of 8



has been subjected to adverse employment actions as a result of the discrimination and

retaliation.

22.     Such discrimination and retaliation was committed with malice and reckless indifference

to the rights of Plaintiff and other racial minorities to “have the same right…to make and enforce

contracts… as is enjoyed by other citizens” and to the intent of the statute to protect victims from

unequal treatment. Such malicious or reckless indifference warrants an award, inter alia, of

compensatory and punitive damages, as are authorized by law for 42 U.S.C. § 1981 violations.

         Count No. 3-Hostile Work Environment Under Title VII of the Civil Rights Act

23.     Plaintiff repeats and re-alleges paragraphs 1 through 22 with the same force and effect as

though fully set forth herein.

24.     Plaintiff was subjected to a hostile work environment based upon their race. She belongs

to a protected class, African American, she was subject to unwelcome harassment, the

harassment was based upon her membership in the protected class, the harassment affected a

term, condition or privilege of their employment and Northwest knew or should have known of

the harassment and failed to take prompt remedial action.

25.     The facts demonstrating that Plaintiff was subjected to a racially hostile work

environment based on race, African American, include the following: Plaintiff is an African

American. On or about June 2, 2011, Plaintiff’s Caucasian co-worker, Sonya Taylor, the Quality

Improvement Specialist, made a racially derogatory comment towards African Americans to

Plaintiff. The harassment affected a term, condition, or privilege of the Plaintiff’s employment,

in that it was sufficiently severe or pervasive to create a work environment that is both

subjectively and objectively abusive, i.e., one that Plaintiff perceived as abusive and one that a

reasonable person would find hostile or abusive.




                                                -5-
       Case 4:13-cv-01626 Document 1 Filed on 06/03/13 in TXSD Page 6 of 8



                                          F. DEMAND FOR A JURY

26.     Plaintiff demands a jury trial.

                                             G. DAMAGES

27.     Plaintiff is entitled to an award of actual and compensatory damages in an amount that

exceeds the minimum jurisdictional limits of this Court. These include her past and future loss

of higher wages, raises, and or bonuses. Plaintiff also seeks an award of damages for her mental

anguish and the losses she has suffered and continues to suffer.

28.     Further, because the Defendant’s acts and omissions were committed with malice and/or

with reckless disregard of the consequences, they justify the imposition of exemplary damages in

addition to the compensatory damages to which Plaintiff is entitled. A reasonable amount for

exemplary damages in this case should take into consideration the need to deter future conduct of

this type.

29.     Plaintiff also seeks compensation for the out-of-pocket expenses, attorney’s fees, and

costs of Court she will have incurred in this action.

30.     Plaintiff believes that a jury should put a dollar value on these damages after it hears the

evidence.

                                              H. PRAYER

31.     For these reasons, Plaintiff Vanessa Evans-Rhodes prays that Defendant be cited to

appear and answer herein and that this case be advanced for trial before a jury, and that on final

hearing this Court grant the following relief:

        a)       An award of reasonable attorney’s fees and the cost and expenses related to the

                 litigation of this claim;

        b)       Loss of earnings sustained by Plaintiff from date of discrimination and




                                                 -6-
Case 4:13-cv-01626 Document 1 Filed on 06/03/13 in TXSD Page 7 of 8



       retaliation to date of trial;

c)     Loss of earning and earning capacity reasonably anticipated to be suffered by

       Plaintiff in the future;

d)     Mental anguish, embarrassment, inconvenience, pain and suffering sustained by

       Plaintiff from the date they were discriminated against to the end of trial;

e)     Mental anguish, embarrassment, inconvenience, pain and suffering reasonably

       anticipated to be suffered by Plaintiff in the future;

f)     Actual damages suffered by Plaintiff, past and future;

g)     Past and future medical expenses;

h)     Punitive and exemplary damages; and

i)     Pre-judgment interest at the highest rate allowed by law;

j)     Post-judgment interest at the highest rate allowed by law;

k)     A judgment against the Defendant for compensatory damages; and

l)     Such other relief, legal or equitable, as may be warranted.




                                       -7-
Case 4:13-cv-01626 Document 1 Filed on 06/03/13 in TXSD Page 8 of 8



                                          Respectfully submitted:

                                          MOORE & ASSOCIATES

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                                -8-
